                          Case 1:22-mj-05044-JGD
2-6   5HYLVHG86'&0$            Document 1-2 Filed 02/15/22 Page 1 of 2
&ULPLQDO&DVH&RYHU6KHHW                                                             86'LVWULFW&RXUW'LVWULFWRI0DVVDFKXVHWWV

3ODFHRI2IIHQVH                       &DWHJRU\1R         II               ,QYHVWLJDWLQJ$JHQF\       ATF

&LW\      Boston                                 5HODWHG&DVH,QIRUPDWLRQ

&RXQW\       Suffolk                              6XSHUVHGLQJ,QG,QI                            &DVH1R
                                                  6DPH'HIHQGDQW                               1HZ'HIHQGDQW
                                                  0DJLVWUDWH-XGJH&DVH1XPEHU
                                                  6HDUFK:DUUDQW&DVH1XPEHU
                                                  55IURP'LVWULFWRI

'HIHQGDQW,QIRUPDWLRQ

'HIHQGDQW1DPH         Jacquelyn Mahoney                                       -XYHQLOH                * <HV *
                                                                                                               O 1R

                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU*<HV*1R
                                                                                                                   O
$OLDV1DPH
$GGUHVV                 &LW\ 6WDWH
                      1991
%LUWKGDWH <URQO\ BBBBB661          4230
                                  ODVW BBBBBBBB     F
                                                   6H[BBBBB             5DFHBBBBBBBBBBB                       USA
                                                                                                   1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

'HIHQVH&RXQVHOLINQRZQ                                                            $GGUHVV

%DU1XPEHU

86$WWRUQH\,QIRUPDWLRQ

$86$         Benjamin A. Saltzman                                     %DU1XPEHULIDSSOLFDEOH       683169

,QWHUSUHWHU            * <HV       O 1R
                                    *                      /LVWODQJXDJHDQGRUGLDOHFW

9LFWLPV                *<HV*1R
                              O     ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G             * <HV      1R

0DWWHUWREH6($/('                * <HV
                                    O            *      1R

          *:DUUDQW5HTXHVWHG
           O                                         *5HJXODU3URFHVV                       *,Q&XVWRG\

/RFDWLRQ6WDWXV

$UUHVW'DWH

* $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                     LQ                                     
* $OUHDG\LQ6WDWH&XVWRG\DW                                      *6HUYLQJ6HQWHQFH       *$ZDLWLQJ7ULDO
* 2Q3UHWULDO5HOHDVH 2UGHUHGE\                                                   RQ

&KDUJLQJ'RFXPHQW                  O
                                    *&RPSODLQW                *,QIRUPDWLRQ                  *,QGLFWPHQW
                                                                                                                   I
7RWDORI&RXQWV                  *3HWW\                   *0LVGHPHDQRU                  *)HORQ\
                                                                                                    O

                                         &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

*
O         ,KHUHE\FHUWLI\WKDWWKHFDVHQXPEHUVRIDQ\SULRUSURFHHGLQJVEHIRUHD0DJLVWUDWH-XGJHDUH
          DFFXUDWHO\VHWIRUWKDERYH

'DWH     02/14/2022                       6LJQDWXUHRI$86$
                                                                
                         Case 1:22-mj-05044-JGD Document 1-2 Filed 02/15/22 Page 2 of 2
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 Jacquelyn Mahoney

                                                                       U.S.C. Citations
                 Index Key/Code                             Description of Offense Charged          Count Numbers
          21 U.S.C. 841(a)(1),
6HW     841(b)  % YLLL
                                                    Distributed 50 grams RUPRUHRIDPL[WXUH   I
                                                   DQGVXEVWDQFHFRQWDLQLQJMethamphetamine
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
